Case 1:22-cv-01377-JLH Document 748 Filed 10/25/24 Page 1of 7 PagelD #: 71024

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

APPLE INC.,
Plaintiff,
v. C.A. No. 22-1377-JLH
C.A. No. 22-1378-JLH
MASIMO CORPORATION and
SOUND UNITED, LLC,
Defendants.

VERDICT FORM

Instructions: When answering the following questions and completing this Verdict Form,

please follow the directions provided and follow the Jury Instructions that you have been given.

Your answer to each question must be unanimous. Some of the questions contain legal terms that

are defined and explained in the Jury Instructions. Please refer to the Jury Instructions if you are

unsure about the meaning of usage of any legal term that appears in the questions below.

As used herein:

1. “Apple” refers to Plaintiff Apple Inc.;

2. “Masimo” refers to Defendants Masimo Corporation and Sound United, LLC;
3. The “D’279 Patent” refers to U.S. Patent No. D883,279;

4, The “D’842 Patent” refers to U.S. Patent No. D947,842;

5, The “D’131 Patent” refers to U.S. Patent No. D735,131;

6. The “’783 Patent” refers to U.S. Patent No. 10,627,783;

7. The “054 Patent” refers to U.S. Patent No. 10,987,054; and

8. The *’483 Patent” refers to U.S. Patent No. 11,474,483.
Case 1:22-cv-01377-JLH Document 748 Filed 10/25/24 Page 2 of 7 PagelD #: 71025

QUESTION 1:

For each of the following patent claims and products, did Apple prove by a preponderance of the

evidence that Masimo infringed the claim?

The claim of the D’279 Patent

YES NO
Hroguck(s) (For Apple) (For Masimo)
Original Design if
(Masimo W1, Freedom, Health Module) “
Wave Design of
(Masimo W1, Freedom, Health Module)
The claim of the D’842 Patent
YES NO
Hroducks) (For Apple) (For Masimo)
Original Design
(Masimo W1, Freedom, Health Module) /
Wave Design
(Masimo W1, Freedom, Health Module) ~
The claim of the D’131 Patent
YES NO
Eroguc®) (For Apple) (For Masimo)
Original Charger

Case 1:22-cv-01377-JLH Document 748 Filed 10/25/24 Page 3 of 7 PagelD #: 71026

Claim 16 of the ’783 Patent

YES NO
Product(s) (For Apple) (For Masimo)
Masimo WI1

(Original and Wave) v

Masimo Freedom ue

Claim 13 of the ’483 Patent

YES NO
Product(s) (For Apple) (For Masimo)
Masimo W1 S/S

(Original and Wave)

Masimo Freedom ye

Claim 1 of the ’054 Patent

YES NO
Product(s) (For Apple) (For Masimo)
Masimo W1

(Original and Wave) —

Masimo Freedom LL

Case 1:22-cv-01377-JLH Document 748

QUESTION 2:

Filed 10/25/24

Page 4 of 7 PagelD #: 71027

For each of the following claims, did Masimo prove by clear and convincing evidence that the

claim is invalid for obviousness?

Patent

YES
(For Masimo)

NO
(For Apple)

Claim 16 of the ’783 Patent

ZA

Claim 13 of the °483 Patent

MO

Claim | of the °054 Patent

wo

QUESTION 3:

For each of the following claims, did Masimo prove by clear and convincing evidence that the

claim is invalid for lack of ornamentality?

Patent

YES
(For Masimo)

NO
(For Apple)

The claim of the D’279 Patent

The claim of the D’842 Patent

Case 1:22-cv-01377-JLH Document 748 Filed 10/25/24 Page 5 of 7 PagelD #: 71028

Answer Questions 4, 5, and 6 only if you:
e Answered “Yes” for ANY of the claims in Question 1;
AND

e Answered “No” for those SAME CLAIMS in Questions 2 and 3, if applicable.

Otherwise, skip and DO NOT answer Questions 4, 5, and 6, and instead please proceed

directly to the final page of this Verdict Form and sign and date that page.

QUESTION 4:

Do you award Apple $250 as a statutory remedy for Masimo’s infringement to date of any of

Apple’s Design Patents?

YES NO
(For Apple) (For Masimo)

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QUESTION 5:

Did Apple prove by a preponderance of the evidence that Masimo should pay damages of $250

for infringement to date of any of Apple’s Utility Patents?

YES NO
(For Apple) (For Masimo)

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Case 1:22-cv-01377-JLH Document 748 Filed 10/25/24 Page 6 of 7 PagelD #: 71029

QUESTION 6:

Did Apple prove by a preponderance of the evidence that Masimo’s infringement was willful?

YES NO
(For Apple) (For Masimo)

Case 1:22-cv-01377-JLH Document 748 Filed 10/25/24 Page 7 of 7 PagelD #: 71030

You have now reached the end of this verdict form and you should review it to ensure that
it entirely reflects your unanimous determinations. The Foreperson should then sign the verdict
form in the space below and notify the Court Security Officer that you have reached a verdict. The
Foreperson should retain possession of the verdict form and will bring it to the courtroom with the

jury.

Signed:

Dated: \\D [as / ay

